EXHIBIT J
       Private hospitals get extra money ; Jindal touts Medicaid innovation
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Body


BATON ROUGE -- Private hospitals around the state will collect $83 million in extra Medicaid payments under new
public-private partnerships designed to bring in federal health-care dollars, Gov. Bobby Jindal said Tuesday.

The payments will flow to 25 hospitals around the state -- including seven in the New Orleans area -- that are taking
part in the new program, which received federal approval in November. It's the second round of payments, following
$27 million paid out late last year.

Under the Low-Income and Needy Care Collaboration Agreement program, private hospitals agree to cover the
costs of providing care to low-income and needy populations that are now served by public entities such as local
public hospital districts or the Department of Health and Hospitals.

The financing arrangement saves money that the public institutions would otherwise have to spend, and makes the
hospitals eligible to receive federal Medicaid matching funds that exceed the cost of the care they cover.

"This program is the definition of innovation at work in our health care system," Jindal said. "While other states are
slashing hospital funding in reaction to the national crisis in Medicaid, we're here today giving hospitals $83 million
in funding."

Louisiana is the second state, after Texas, to get a waiver from the federal Centers for Medicare and Medicaid
Services to operate such collaborations.

While the first round of payments flowed mainly to hospitals in the New Orleans area, including East Jefferson
General Hospital and West Jefferson Medical Center, the latest payments are being spread around the state, with
about $4.5 million going to hospitals in the region.

The largest recipient, by far, is Woman's Hospital in Baton Rouge, which is getting $46 million.

Jindal also announced a second, similar program that will generate $2.8 million in extra federal money to pay
doctors that work in non-state public hospitals.

Both the hospital and the doctor payment programs were developed from legislation authored by state Sen. David
Heitmeier, D-Algiers.

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